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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


UNITED STATES OF AMERICA,               )      CASE NO. 1:05CR346-002
                                        )
                   Plaintiff(s),        )
                                        )
                                        )      JUDGE CHRISTOPHER A. BOYKO
             vs.                        )
                                        )
DARYL BOGGS,                            )
                                        )      ORDER
                   Defendant(s).        )
                                        )

      The Defendant appeared before this Court on July 1, 2008 for a hearing on

Supervised Release Violations.

      The Court finds the Defendant has a history of mental health issues; alcohol/drug

abuse and attempted suicide.

      Therefore, according to 18 U.S.C.§ 4244(b), it is

      ORDERED that a determination of Defendant’s mental condition be made by the

Bureau of Prisons pursuant to 18 U.S.C.§ 4244(b) and shall be completed no later than

Monday, September 15, 2008.

      FURTHER ORDERED that a psychiatric and/or psychological examination of the

defendant shall be conducted and a report on the same submitted to the Court and

served on counsel of record (Assistant United States Attorney Ed Feran, 801 West

Superior Avenue, Suite 400, Cleveland, Ohio 44113 and Neal G. Atway, Atway,

Cochran & Rafidi, Ste. 1, 19 East Front Street, Youngstown, OH 44503) pursuant to 18

U.S.C. § 4244(b) with provisions under 18 U.S.C. 4247(c).
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       FURTHER ORDERED that should the examiner(s) need additional time to

complete their examination of the Defendant, they shall file a motion with the Court

showing good cause why the additional time is necessary to observe and evaluate the

Defendant according to 18 U.S.C. § 4247(b);

       FURTHER ORDERED that the U.S. Marshals shall make appropriate

arrangements to have the defendant transferred under custody to FMC Butner, Federal

Medical Center, P.O. Box 1600, Butner, NC 27509, where such examination of the

Defendant shall be conducted;

       FURTHER ORDERED that a hearing shall be scheduled in this matter after the

results of the Defendant’s examination have been submitted to the Court and counsel;

       FURTHER ORDERED that the Defendant shall continue to receive, while in

federal custody, all necessary medications and injections currently prescribed to him;

and,

       FURTHER ORDERED that the Court holds in abeyance the disposition of the

violation hearing until after completion of the report on Defendant’s mental condition and

hearing.

       IT IS SO ORDERED.


                                         S/Christopher A. Boyko
                                         Christopher A. Boyko
                                         United States District Judge


July 2, 2008
